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                    1   MICHAEL L. HINCKLEY (CSBN 161645)
                        LIDIA S. STIGLICH (CSBN 182100)
                    2   STIGLICH & HINCKLEY, LLP
                        502 Seventh Street
                    3   San Francisco, California 94103
                        Tel: 415-865-2539
                    4   Fax: 415-865-2538
                    5   Attorney for Defendant
                        DAVID DOMINGUEZ
                    6
                    7                                           UNITED STATES DISTRICT COURT
                    8                                        NORTHERN DISTRICT OF CALIFORNIA
                    9                                                 SAN FRANCISCO DIVISION
                   10
                        UNITED STATES OF AMERICA,                                              Case No. CR 05 00117 PJH
                   11
                                             Plaintiff,
                   12
                              v.                                                               STIPULATION AND [PROPOSED]
                   13                                                                          ORDER RE: CONTINUANCE OF
                                                                                               SURRENDER DATE
                   14   DAVID DOMINGUEZ, et. al
                   15                        Defendants.
                   16                                                                /
                   17
                                   Defendant DAVID DOMINGUEZ, by and through his counsel Michael L. Hinckley and
                   18
                        the United States of America, through Assistant United States Attorney David Hall, hereby
                   19
                        stipulate and agree to a continuance of the date for surrender from August 18, 2006, to August
                   20
                        21, 2006.
                   21
                                   Good cause exists for the requested continuance in that, Mr. Dominguez was designated
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                        to FCI Sheridan in Oregon this afternoon. As such, the requested extension will allow him
                   23
                        sufficient time to travel and surrender at the facility.
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                        U.S. v. DAVID DOMINGUEZ, CR 05-00117 PJH
     Law Offices        Stip. & [Proposed] Order Re: Continuance of Surrender Date
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                    1             IT IS SO STIPULATED.
                    2
                    3   Dated: 08/17/2006                                                            /S/
                                                                                      MICHAEL L. HINCKLEY
                    4                                                                 Attorney for Defendant
                                                                                      DAVID DOMINGUEZ
                    5
                    6   Dated: 08/17/2006                         .                                   /S/
                                                                                      DAVID HALL
                    7                                                                 Assistant United States Attorney
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                    9
                   10                                                                ORDER
                   11
                                  Pursuant to stipulation, the surrender date for David Dominguez is continued from
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                        August 18, 2006, to August 21, 2006.
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                                  IT IS SO ORDERED.
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                        U.S. v. DAVID DOMINGUEZ, CR 05-00117 PJH
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